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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


                                                 Case No. 6:19-cv-372

ERLINDA CZYZEWSKI,                               COMPLAINT AND DEMAND FOR JURY
                                                 TRIAL FOR VIOLATIONS OF:
               Plaintiff,
                                                 1.     Telephone Consumer Protection
       v.                                        Act, 47 U.S.C. § 227 et seq.;
                                                 2.     FLA. STAT. § 559.72 et seq.;
                                                 3.     Intrusion Upon Seclusion; and
COMENITY BANK                                    4.     FLA. STAT. § 768.72 et seq

            Defendant.


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COMES NOW, Plaintiff, Erlinda Czyzewski (“Plaintiff”), by and through her attorneys, and

hereby alleges the following against Defendant, Comenity Bank (“Defendant” or “Comenity”):

                                      INTRODUCTION

1.     Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates the use of

automated telephone equipment. Among other things, the TCPA prohibits certain unsolicited

marketing calls, restricts the use of automatic dialers or prerecorded messages, and delegates

rulemaking authority to the Federal Communications Commission (“FCC”).

2.     Count II of Plaintiff’s Complaint is based upon Florida Consumer Collection Practices Act

(“FCCPA”), FLA. STAT. § 559.72, which prohibits persons from engaging in abusive, deceptive

and unfair practices in connection with the collection of consumer debts.

3.     Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy - Intrusion upon

Seclusion, as derived from § 652B of the Restatement (Second) of Torts. § 652B prohibits an

intentional intrusion, “physically or otherwise, upon the solitude or seclusion of another or her

private affairs or concerns… that would be highly offensive to a reasonable person.”




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4.     Count IV Plaintiff’s Complaint is based upon Punitive Damages, Fla. Statute § 768.72,

which allows a Plaintiff to recover punitive damages where “the trier of fact, based on clear and

convincing evidence, finds that the defendant was personally guilty of intentional misconduct or

gross negligence.”

                                 JURISDICTION AND VENUE

5.     Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28 U.S.C. § 1331.

6.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that a substantial part of the events

or omissions giving rise to the claim occurred in this District. Because Defendant transacts

business here, personal jurisdiction is established.
                                             PARTIES

7.     Plaintiff is a natural person residing in the State of Florida.

8.     Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(8).

9.     The debt in question is a "consumer debt" as defined by § 559.55(6).

10.    At all relevant times herein, Defendant Comenity, was a company engaged, by use of mails

and telephone, in the business of collection a debt from Plaintiff which qualifies as a “consumer

debt” as defined by FCCPA § 559.55(6).

11.    Defendant was and is a “person” as said term is defined under Florida Statute § 1.01(3) and

is subject to the provisions of Fla. Stat. § 559.72 because said section applies to “any person” who

collects or attempts to collect a consumer debt as defined in Fla. Stat. § 559.55(1).
12.    Defendant is a financial institution with its principal place of business located in

Wilmington, DE. Defendant’s registered agent, The Corporation Trust Company, can be served

with process at the Corporation Trust Center on 1209 Orange St., Wilmington, DE 19801.

13.    Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

14.    In or around November 2018, in an attempt to collect on an alleged consumer account,
Defendant began calling Plaintiff on her cellular phone number ending in 2758.



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15.    Defendant called Plaintiff from (505) 253-0598, (505) 253-0595, (614) 729-6085, (614)

729-6078, (513) 707-6992, (844) 271-2816, (614) 754-4135, (877) 285-4015, (720) 456-2816,

(614) 754-4135, (877) 285-4015, (720) 456-3689, (913) 677-8323, (913) 677-8324, (614) 534-

2514, (614) 754-4138, (614) 754-4137, (614) 729-7570, (800) 695-0019, and (877) 475-3483..

16.    Upon information and belief, Defendant owns and operates the above-referenced phone

numbers.

17.    On or about November 23, 2018, at 2:37 p.m., Plaintiff received a call on her cell phone

from (614) 754-4138. Plaintiff heard a pause before the representative began to speak, indicating

the use of an automated telephone dialing system.
18.    During this call, Plaintiff stated that she had no money to make a payment today, that she

has been helping her family financially and she fell behind on her rent.

19.    Further, Plaintiff stated that Defendant should only contact her by mail and when she could

make a payment, she would call Defendant.

20.    Despite revoking consent, Plaintiff continued to receive phone calls from Defendant,

throughout the month of November and December 2018.

21.    On or about January 3, 2019, at 9:17 a.m., Plaintiff received a call on her cell phone from

(800) 695-0019. Plaintiff heard a short pause before the representative began to speak, indicating

the use of an automated telephone dialing system.

22.    During this call, the Plaintiff stated that she already explained to Defendant that she has no
money to make a payment and asked why she was still receiving calls.

23.    Further, Plaintiff again stated that she would call Defendant when she could make a

payment.

24.    Despite this second conversation with Defendant, Plaintiff continued to receive automated

debt collection calls to her cell phone.

25.    Between November 23, 2018, and January 17, 2019, Plaintiff received approximately one-

hundred and twenty calls to her cell phone after requesting Defendant to contact her by mail only.




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26.    There were several occasions where the Defendant called Plaintiff multiple times in one

day, even calling up to six (6) times in a single day.

27.    Defendant also left prerecorded or artificial voice messages for Plaintiff.

28.    Moreover, Defendant sent Plaintiff automated text messages to her cell phone after Plaintiff

had requested that all communications be by mail only.

29.    Defendant sent approximately twenty (20) automated text messages to Plaintiff after she

had spoken to Defendant and requested communication to be by mail.

30.    Defendant’s calls and texts were excessive and done with the purpose of attempting to

harass Plaintiff into making a payment on the account.
31.    Defendant was aware that Plaintiff was facing financial difficulties, that she could not make

a payment, that she was struggling to pay her rent, that she was helping her family financially, that

she wanted the calls to stop, and that she would call Defendant when she could make a payment.

32.    The conduct was not only willful, grossly negligent and intentional, but was done with

intention of causing Plaintiff such distress, so as to induce her to pay the debt.

33.    Plaintiff is approximately sixty-one (61) years of age.

34.    Upon information and belief, Defendant is aware of Plaintiff’s age and placed each

telephone call and text message knowing that Plaintiff was an elderly woman.

35.    Plaintiff works as a server at a retirement home and her hours are inconsistent.

36.    Plaintiff does not receive any financial help from any other sources.
37.    Plaintiff is responsible for providing financial assistance to her family located in the

Philippines.

38.    Plaintiff is on prescription medication.

39.    Defendant’s automated debt collection calls have caused Plaintiff to suffer from stress,

anxiety, headaches, sleepless nights and frustration.

40.    Due to Defendant’s actions, Plaintiff has suffered emotional distress and an invasion of her

privacy.
                                             COUNT I



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                           (Violations of the TCPA, 47 U.S.C. § 227)

41.    Plaintiff incorporates by reference paragraphs one (1) through thirty-one (31) of this

Complaint as though fully stated therein.

42.    Defendant violated the TCPA. Defendant’s violations include, but are not limited to the

following:

       a.      Within four years prior to the filing of this action, on multiple occasions, Defendant

       violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, “It shall be

       unlawful for any person within the United States . . . to make any call (other than a call

       made for emergency purposes or made with the prior express consent of the called party)
       using any automatic telephone dialing system or an artificial or prerecorded voice — to

       any telephone number assigned to a . . . cellular telephone service . . . or any service for

       which the called party is charged for the call.

       b.      Within four years prior to the filing of this action, on multiple occasions, Defendant

       willfully and/or knowingly contacted Plaintiff using an artificial prerecorded voice or an

       automatic telephone dialing system and as such, Defendant knowing and/or willfully

       violated the TCPA.

43.    As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an award

of five hundred dollars ($500.00) in statutory damages, for each and every violation, pursuant to

47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or willfully violated
the TCPA, Plaintiff is entitled to an award of up to one thousand five hundred dollars ($1,500.00),

for each and every violation pursuant to 47 U.S.C. § 227(b)(3).

                                            COUNT II

                    (Violations of the FCCPA, FLA. STAT. § 559.72 et seq.)

44.    Plaintiff incorporates by reference paragraphs one (1) through thirty-four (34) of this

Complaint as though fully stated therein.

45.    Defendant violated the FCCPA. Defendant’s violations include, but are not limited to, the
following:



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       a.      Defendant violated FLA. STAT. § 559.72 (7), which states in part that it is a violation

       to “[w]illfully communicate with the debtor … with such frequency as can reasonably be

       expected to harass the debtor … or willfully engage in other conduct which can reasonably

       be expected to abuse or harass the debtor ….”

       b.      Defendant called Plaintiff approximately one hundred and twenty (120) times and

       sent approximately twenty (20) text messages after Plaintiff revoked consent to be called,

       explained that she was going through a financial difficulty, that she had no money, that she

       would call Defendant when she could make a payment, and that she wanted all

       communication by mail only.
46.    As a result of the foregoing violations of the FCCPA, Defendant is liable to Plaintiff for

actual damages, statutory damages, punitive damages, and attorneys’ fees and costs.

                                             COUNT III

                                     (Intrusion Upon Seclusion)

47.    Plaintiff incorporates by reference paragraphs one (1) through thirty-eight (38) of this

Complaint as though fully stated therein.

48.    Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon seclusion as, “One

who intentionally intrudes … upon the solitude or seclusion of another, or his private affairs or

concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be highly

offensive to a reasonable person.”
49.    Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not limited

to, the following:

       a.      Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s solitude

       and seclusion by engaging in harassing phone calls in an attempt to collect on an alleged

       debt despite Plaintiff’s requests for all communication to be by mail only.

       b.      The number and frequency of the telephone calls to Plaintiff by Defendant after

       Plaintiff’s request for the calls to cease constitute an intrusion on Plaintiff's privacy and
       solitude.



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       c.      Defendant’s conduct would be highly offensive to a reasonable person as Plaintiff

       received calls that often-interrupted Plaintiff’s daily schedule.

       d.      Defendant’s acts, as described above, were done intentionally with the purpose of

       coercing Plaintiff to pay the alleged debt.

50.    As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to Plaintiff

for actual damages. If the Court finds that the conduct is found to be egregious, Plaintiff may

recover punitive damages.
                                             COUNT IV

                           (Fla. Statute § 768.72 – Punitive Damages)

51.    Plaintiff incorporates herein by reference paragraphs one (1) through forty-one (41) of

this Complaint as though fully set forth herein at length.

52.    Fla. Statute § 768.72 allows a Plaintiff to recover punitive damages where “the trier of

fact, based on clear and convincing evidence, finds that the defendant was personally guilty of

intentional misconduct or gross negligence.”

53.    Fla. Statute § 768.72(2)(a) defines “intentional misconduct” as defendant having “actual

knowledge of the wrongfulness of the conduct and the high probability that injury or damage to

the claimant would result and, despite that knowledge, intentionally pursued that course of

conduct, resulting in injury or damage.”

54.    Fla. Statute § 768.72(2)(b) defines “Gross negligence” as “reckless or wanting in care

that it constituted a conscious disregard or indifference to the life, safety, or rights of persons

exposed to such conduct.”

55.    Plaintiff is informed and believes that the aforesaid conduct was malicious, wanton, and

oppressive, as those terms are defined by Fla. Statute § 768.72(2), as Defendant’s conduct was

done in complete conscious disregard of Plaintiff’s rights and safety.




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56.       Defendant was aware that Plaintiff was having financial difficulty, that she could not

make a payment, that she requested to not be called on her cell phone, and that she would call

Defendant when could make a payment, and yet, Defendant continued its bombardment of

harassing phone calls to Plaintiff in violation of the TCPA, FCCPA, and Plaintiff’s privacy

rights.

57.       As a result of Defendant’s conduct and violations, Defendant is liable to Plaintiff for

punitive damages.

                                       PRAYER OF RELIEF

          WHEREFORE, Plaintiff, Erlinda Czyzewski, respectfully requests judgment be entered

against Defendant, Comenity Bank, for the following:

58.       Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

to 47 U.S.C. § (b)(3)(B);

59.       Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

TCPA pursuant to 47 U.S.C. § (b)(3);

60.       Statutory damages of $1,000.00 pursuant to the FCCPA, FLA. STAT. § 559.77;

61.       Actual damages pursuant to FCCPA, FLA. STAT. § 559.77;

62.       Punitive damages pursuant to FCCPA, FLA. STAT. § 559.77;

63.       Costs and reasonable attorneys’ fees pursuant to the FCCPA, FLA. STAT. § 559.77;

64.       Punitive damages to be determined at trial, for the sake of example and punishing

Defendant for their intentional misconduct and/or gross negligence, pursuant to Fla. Statute §

768.73;

65.       Awarding Plaintiff any pre-judgment and post-judgment interest as may be allowed under

the law; and

66.       Any other relief that this Honorable Court deems appropriate.




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Respectfully submitted this 25th day of February 2019.


                                                         By: /s/Aaron M. Swift
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